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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


     HANSHOW TECHNOLOGY CO.,                  §
     LTD. AND SHANGHAI HANSHI                 §
     INFORMATION TECHNOLOGY                   §
                                              §
     CO., LTD                                         Case No. 2:23-cv-00617-RWS-RSP
                                              §
                                              §
          Plaintiffs,                         §
                                              §
                                              §
     v.                                       §
                                              §
                                              §
      SES-IMAGOTAG SA, SES-                   §
      IMAGOTAG GMBH AND                       §
      CAPTANA GMBH                            §
                                              §
             Defendants.                      §



 DEFENDANTS VUSIONGROUP GMBH f/k/a SES-IMAGOTAG GMBH and CAPTANA
 GMBH’S MOTION TO DISMISS PLAINTIFFS’ COMPLAINT PURSUANT TO FED. R.
                 CIV. P. 12(B)(2) AND BRIEF IN SUPPORT



          Defendants VusionGroup GmbH (f/k/a SES-Imagotag GmbH) (“VusionGroup GmbH”)

 and Captana GmbH (collectively, the “Moving Defendants”), by and through undersigned counsel,

 hereby file this Motion to Dismiss Plaintiffs Hanshow Technology Co., Ltd. and Shanghai Hanshi

 Information Technology Co., Ltd.’s (collectively, “Hanshow”) Complaint Pursuant to Fed. R. Civ.

 P. 12(b)(2) and Brief in Support. In support thereof the Moving Defendants show as follows:
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                                    I.     INTRODUCTION

        VusionGroup SA is a French corporation and the corporate parent of the two moving

 Defendants VusionGroup GmbH—an Austrian company—and Captana GmbH—a German

 company. Ex. 1 ¶ 4; Ex. 2 ¶ 4. The primary accused products are Captana™ sensors and camera

 systems (the “Accused Products”). These products are sold in the United States by Captana, Inc.

 and VusionGroup, Inc.—neither of which are named defendants. Hanshow did not name these

 obvious parties because neither are present in this district and Hanshow wanted to manufacture

 venue here. So, it named only foreign entities. But the foreign entities Hanshow named are not

 present in the United States, do not operate in the United States, and do not sell the accused

 products in the United States. Indeed, VusionGroup GmbH (the Austrian entity) is a technology

 research organization with no products at all, and Captana GmbH (the German entity) exclusively

 makes and sells its products and services outside of the United States; it does not import its

 products into (or perform services in) the United States. So, while venue might be technically

 correct, personal jurisdiction over these defendants is not.1 The Court should dismiss VusionGroup

 GmbH and Captana GmbH for want of personal jurisdiction.

                                          II.    FACTS

        VusionGroup SA is a French corporation and the parent company of Defendants

 VusionGroup GmbH and Captana GmbH. Ex. 1 ¶ 3; Ex. 2 ¶ 3. VusionGroup SA develops, sells,

 and manufactures its products in Europe (and in other locations outside of the United States) Ex.

 1 ¶ 5; Ex. 2 ¶ 4. But neither VusionGroup GmbH nor Captana GmbH sell, market, import, or


 1
      VusionGroup SA, the corporate parent for both defendants, does not move to dismiss for
 lack of personal jurisdiction and is filing herewith an answer to Hanshow’s complaint.
 VusionGroup SA does not, however, concede that personal jurisdiction over it is appropriate in
 this Court, and specifically, reserves all objections with respect to personal jurisdiction.
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  manufacture the accused Captana™ devices in the United States, let alone in Texas. Ex. 1 ¶ 7; Ex.

  2 ¶ 11.

             VusionGroup GmbH is a corporation organized and existing under the laws of Austria. Ex.

 1 ¶ 4. VusionGroup GmbH is a wholly owned subsidiary of VusionGroup SA, but has at all times,

 maintained its separate corporate identity from both VusionGroup SA and Captana GmbH. Id. ¶ 5.

 VusionGroup GmbH’s primary business is developing technology and holding related intellectual

 property. Id. ¶ 6. VusionGroup GmbH does not make, sell, offer to sell, or import any Accused

 Products in the United States or the State of Texas. Id. ¶ 7. It also does not have a place of business

 or employees in the United States or the State of Texas. Id. ¶ 8.

             Captana GmbH is a corporation organized and existing under the laws of Germany. Ex. 2

 ¶ 6. Captana GmbH is a wholly owned subsidiary of VusionGroup SA, but it, like VusionGroup

 GmbH, has at all times maintained its separate corporate identity. Id. ¶ 9. Captana GmbH was

 initially a technology startup known as “Findbox.”       Id. ¶ 7. In 2017, Findbox was acquired by

 VusionGroup SA. Id. ¶¶ 7-8; see also Ex. 3 to Hanshow’s Complaint [Dkt. 1] at p. 6 (VusionGroup

 SA’s Strategic Plan indicating that it acquired Findbox in or around 2017). Captana GmbH has been

 an independent, operational company and brand before and after it was acquired by VusionGroup

 SA. Id. ¶ 9. It develops its own technologies and has maintained largely uninterrupted leadership,

 with Michael Unmussig serving as its CEO, since its founding. Id. ¶ 9; see Ex. 3 to Hanshow’s

 Complaint [Dkt. 1] at p. 120 (listing Mr. Unmussig as Captana’s CEO). Captana GmbH does not

 market, sell, offer for sale, or import any products into the United States or the State of Texas. Id.

 It also does not maintain a place of business or employees in the United States or the State of Texas.

 Id. ¶ 11.




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                           III.   SUMMARY OF THE ARGUMENT

        The Court does not have personal jurisdiction over either VusionGroup GmbH or Captana

 GmbH because they are both foreign companies with no operations, employees, or sales of

 Accused Products in the United States or the State of Texas. Besides the initial paragraphs of its

 Complaint, Hanshow lumps these separate entities together, referring to them collectively as

 “defendants.” But Hanshow pleads no facts to support its assertion that the Court has personal

 jurisdiction over any of the named defendants. Indeed, the barebone facts Hanshow does allege

 relate to entities not named in the complaint. 2 In fact, screenshots and attachments included as

 part of Hanshow’s Complaint, suggest that the Moving Defendants do not have the necessary

 contacts for personal jurisdiction to exist against them in Texas and thus are not proper parties to

 this lawsuit. See generally Dkt. 1 Ex. 3. Besides general statements concerning “Defendants”,

 Plaintiffs’ Complaint offers no specific facts suggesting that the Moving Defendants have

 sufficient contacts with the forum to confer personal jurisdiction.         Plaintiffs’ insufficient

 jurisdictional pleading is grounds enough to dismiss the Moving Defendants from this case, but

 nevertheless, the facts confirm that the Moving Defendants have no relationship to the forum and

 should be dismissed.

                           IV.    ARGUMENT AND AUTHORITIES

     A. Legal Standard – Personal Jurisdiction

        A district court must dismiss an action if it lacks personal jurisdiction over the defendant.

 Fed. R. Civ. P. 12(b)(2). The plaintiff bears the burden of establishing personal jurisdiction.



 2
      Hanshow is presumably well aware that there are two U.S. based VusionGroup-related
 parties that it declined to name in this case. This is so because Hanshow and VusionGroup have
 been involved in litigation in multiple jurisdictions for several years. Thus, Hanshow’s decision
 not to name any of the U.S.-based entities was intentional. Therefore, to the extent that Hanshow
 later requests leave to add these parties, the Court should deny that request.
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 Clemens v. McNamee, 615 F.3d 374, 378 (5th Cir. 2010). “A federal court may exercise personal

 jurisdiction over a nonresident defendant if (1) the forum state’s long-arm statute confers personal

 jurisdiction over that defendant; and (2) the exercise of personal jurisdiction comports with the

 Due Process Clause of the Fourteenth Amendment.” McFadin v. Gerber, 587 F.3d 753, 759 (5th

 Cir. 2009), cert denied, 131 S. Ct. 68 (2010); see also Fed. R. Civ. P. 4(k)(1). Because the Texas

 long-arm statute extends as far as constitutional due process allows, this Court need only consider

 the second step of the inquiry. Id.

        The Supreme Court established a two-pronged test to determine if personal jurisdiction

 comports with due process: (1) whether the defendant has the requisite minimum contacts with the

 forum state; and (2) whether the defendant’s submission to jurisdiction in the forum state would

 not infringe on “traditional notions of fair play and substantial justice.” Asahi Metal Indus. Co. v.

 Superior Court, 480 U.S. 102, 105 (1987); Int’l Shoe Co. v. Washington, 326 U.S. 310, 316 (1945).

 “There are two types of ‘minimum contacts’: those that give rise to specific personal jurisdiction

 and those that give rise to general personal jurisdiction.” Lewis v. Fresne, 252 F.3d 352, 358 (5th

 Cir. 2001). Neither is present here.

    B. The Court Lacks General Jurisdiction Over the Moving Defendants.

        General jurisdiction requires that “a defendant [be] essentially at home in the State.” Ford

 Motor Co. v. Montana Eighth Jud. Dist. Ct., 592 U.S. 351, 358 (2021) (internal quotation omitted).

 A defendant is “at home” when its contacts with the forum state are “continuous and systematic.”

 Daimler AG v. Bauman, 571 U.S. 117, 139 (2014). Corporations are considered “at home” in the

 state of “its place of incorporation and principal place of business.” Ford, 529 U.S. at 358 (citations

 omitted). The Supreme Court has recently made it clear that the exercise of general jurisdiction

 arises in “only a limited set of affiliations with a forum [that] will render a defendant amenable to


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 all-purpose jurisdiction there.” Daimler, 571 U.S. at 137. The Fifth Circuit concurs, finding that it

 is “incredibly difficult to establish general jurisdiction in a forum other than the place of

 incorporation or principal place of business of a defendant.” Monkton Ins. Servs., Ltd. v. Ritter,

 768 F.3d 429, 432 (5th Cir. 2014).

        Neither VusionGroup GmbH nor Captana GmbH are incorporated or have a principal place

 of business in Texas or the United States. Hanshow does not allege otherwise. Nor has it pled any

 facts relating to the “limited set of affiliations” that would suggest that either Moving Defendant

 had “continuous and systematic” contacts with Texas. As such, Hanshow cannot establish general

 jurisdiction as to either defendant.

    C. The Court Lacks Specific Jurisdiction Over the Moving Defendants.

        Specific jurisdiction is established when a Plaintiffs’ claims arise out of or relate to the

 defendant’s contacts with the forum state. Id. at 359 (internal citations and quotations omitted).

 “The defendant … must take some act by which [it] purposefully avails itself of the privilege of

 conducting activities within the forum State.” Id. (internal quotation omitted). A plaintiff “must

 show that the defendant deliberately reached out beyond its home—by, for example, exploi[ting]

 a market in the forum State or entering a contractual relationship centered there.” Id. (internal

 quotations omitted).

        The requirements for specific jurisdiction can be coalesced as follows: “(1) the defendant

 purposefully directed its activities to the forum State; (2) the claims arise out of or relate to those

 activities (collectively, the minimum contacts prong); and (3) the assertion of jurisdiction is

 reasonable and fair.” NexLearn, LLC v. Allen Interactions, Inc., 859 F.3d 1371, 1376 (Fed. Cir.

 2017); see also Stroman Realty, Inc. v. Wercinski, 513 F.3d 476, 484 (5th Cir. 2008).




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              i.   The Moving Defendants Have Not Directed Any Activities to Texas.

            The Moving Defendants do not have the minimum contacts with Texas that are necessary

  to establish personal jurisdiction in this forum. Each of the alleged instances of “contacts”

  identified in the Complaint are either contacts by a separate entity or do not meet the standard of

  minimum contacts under Texas law.

            Hanshow alleges that jurisdiction exists because “[o]n information and belief,

  [VusionGroup GmbH and Captana GmbH] have made, used, provided, supplied, distributed, sold,

  offered for sale, and/or imported . . . the accused infringing Captana devices . . . in the State Texas

  and continue to do so”. See Dkt. 1 (Complaint) ¶ 15. But this is factually incorrect. Ex. 1 ¶ 7; Ex.

  2 ¶ 12.

            Neither VusionGroup GmbH nor Captana GmbH make, sell, advertise, or import any

  Captana™ products in or into the United States or the State of Texas. Ex. 1 ¶ 7; Ex. 2 ¶ 12. Indeed,

  as corroborated in the exhibits attached to the complaint, the Moving Defendants do not have a

  presence in the United States, much less with respect to the Captana™ Accused Devices.

  Hanshow’s Exhibits 5-6, partially depicted in their Complaint, include “job postings” for “SES-

  imagotag SA” (now VusionGroup SA), and not SES-imagotag GmbH (now VusionGroup GmbH)

  or Captana GmbH. See passim Dkt. No. 1, Exs. 5-6. Those same exhibits make reference to the

  “Captana Sensor Cloud” within the SES-imagotag SA job description. Further, Plaintiffs’ Exhibit

  3 is a presentation for VusionGroup SA’s 2022-2027 Strategic Plan. See generally Dkt. 1 at Ex. 3.

  Plaintiffs’ Exhibit 3 specifically shows that Captana maintains its own CEO, separate from the

  SES-imagotag leadership. Id. at p. 120 (listing Captana GmbH’s CEO). Plaintiffs’ exhibits do not

  mention VusionGroup (or SES-imagotag) GmbH at all.

            Next, Hanshow alleges that Defendants are doing substantial business in Texas, “either


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  directly or indirectly through intermediaries[.]” Dkt. 1 (Complaint) ¶ 13. Hanshow does not

  identify any specific “intermediaries.” Nor does Hanshow explain the factual basis for attributing

  acts of the unnamed intermediaries to VusionGroup GmbH or Captana GmbH. It is well-

  established law that personal jurisdiction does not arise out of the unilateral acts of third parties,

  including unnamed intermediaries. See Wapp Tech Ltd. P’ship v. Micro Focus Int’l, PLC, 406 F.

  Supp. 3d 585, 595 (E.D. Tex. 2019) (internal quotation omitted) (“The Supreme Court has

  forbidden the exercise of jurisdiction over a defendant on the basis of unilateral acts of third-

  parties.”). Thus, even if Hanshow’s allegations were correct, they would not establish personal

  jurisdiction over either defendant.

         Hanshow has also failed to show that the Moving Defendants have themselves engaged in

  “substantial business” in Texas. Besides general allegations as to “Defendants,” collectively,

  Hanshow has not pled any specific facts indicating that VusionGroup GmbH or Captana GmbH

  have sufficient contacts with Texas or this forum for the Court to properly exercise personal

  jurisdiction. See, e.g., Dkt. 1 ¶¶ 10-15, pp. 57-228; see Carmona v. Leo Ship Mgmt., Inc., 924 F.3d

  190, 193 (5th Cir. 2019) (To establish minimum contacts, Plaintiff must show that Defendants

  “purposefully availed [themselves] of the benefits and protections of the forum state such that

  [they] should reasonably anticipate being haled into court there.”).

         Hanshow does not allege any specific contacts in Texas (or the United States in general)

  associated with either VusionGroup GmbH or Captana GmbH. Hanshow acknowledges in its

  Complaint that VusionGroup GmbH is an Austrian company with a principal place of business in

  Austria, and that Captana GmbH is a German company with a principal place of business in

  Germany. Dkt. 1 ¶¶ 7-8. Yet, the only evidence that Hanshow presents in its complaint to establish

  this Court’s personal jurisdiction over the Moving Defendants is the presence of SES-Imagotag


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  America’s—an entity that is not a party to this case—office in Irving, Texas, and job postings for

  SES-Imagotag SA showing availability in an Irving office. Id. ¶¶ 10-15; see Wapp Tech, 406 F.

  Supp. 3d at 595; see also Diece-Lisa Indus., Inc. v. Disney Enters., Inc., 943 F.3d 239, 251 (5th

  Cir. 2019) (internal quotation omitted) (“Generally, the proper exercise of personal jurisdiction

  over a nonresident corporation may not be based solely upon the contacts with the forum state of

  another corporate entity with which the defendant may be affiliated.”). Plaintiffs do not allege any

  contacts in Texas by VusionGroup GmbH or Captana GmbH. As such, Plaintiffs’ claims against

  the Moving Defendants must be dismissed.

           ii.   The Court Lacks Personal Jurisdiction Under a Stream of Commerce Theory.

         Nor can Hanshow establish specific jurisdiction under a so-called “stream of commerce”

  theory. The stream of commerce “doctrine recognizes that a defendant may purposely avail itself

  of the protection of a state’s laws—and thereby will subject itself to personal jurisdiction—by

  sending its goods rather than its agents into the forum.” In re DePuy Orthopaedics, Inc. Pinnacle

  Hip Implant Prod. Liab. Litig., 888 F.3d 753, 778 (5th Cir. 2018) (internal quotation omitted).

  However, this theory is inapplicable to the Moving Defendants.

         Hanshow has not pled sufficient facts to allege a plausible theory of personal jurisdiction

  under a stream of commerce theory as to the Moving Defendants. See AFTG-TG, LLC v. Nuvoton

  Technology Corp., 689 F.3d 1358, 1365 (Fed. Cir. 2012) (“The paltry allegations in the complaint

  cannot support the exercise of personal jurisdiction in [the forum].”). As mentioned previously,

  VusionGroup GmbH does not sell any products whatsoever, let alone in Texas. Ex. 1 ¶¶ 6-7. And

  other than conclusory allegations leveled against all Defendants collectively, Plaintiffs do not offer

  any specific facts suggesting that Captana GmbH purposefully directs products to the state of

  Texas (or anywhere else in the United States). See Asahi Metal Indus. Co. v. Superior Ct. of


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  California, Solano Cnty., 480 U.S. 102, 112 (1987) (“The placement of a product into the stream

  of commerce, without more, is not an act of the defendant purposefully directed toward the forum

  State.”).

          In fact, the evidence confirms the opposite—that neither Moving Defendant has directed

  its activities toward Texas at all. Ex. 1 ¶¶ 7-8; Ex. 2 ¶¶ 11-12; see also J. McIntyre Mach., Ltd. v.

  Nicastro, 564 U.S. 873, 886 (2011) (“These facts may reveal an intent to serve the U.S. market,

  but they do not show that [defendant] purposefully availed itself of the New Jersey market.”).

          Accordingly, because VusionGroup GmbH and Captana GmbH lack sufficient contacts

  with the forum to support the exercise of personal jurisdiction, the case against them should be

  dismissed.

              iii.   Personal Jurisdiction Over the Moving Defendants Would Offend
                     Traditional Notions of Fair Play and Substantial Justice.

          The exercise of personal jurisdiction over a defendant is proper only if it would not offend

  notions of fair play and substantial justice. The exercise of jurisdiction over a defendant offends

  traditional notions of fair play and substantial justice where “(1) the burden on the nonresident

  defendant, (2) the forum state’s interests, (3) the Plaintiffs’ interest in securing relief, (4) the

  interest of the interstate judicial system in the efficient administration of justice, and (5) the shared

  interest of the several states in furthering fundamental social policies.” McFadin v. Gerber, 587

  F.3d 753, 760 (5th Cir. 2009). Here, each of these factors weighs against this Court’s jurisdiction.

          First, the burden on the VusionGroup GmbH and Captana GmbH would be substantial. As

  stated, VusionGroup GmbH is located in, and conducts its business in Austria, and Captana GmbH

  is located in, and conducts its business in Germany. All the relevant personnel and evidence related

  to these companies is located in Austria and Germany, because they are headquartered and operate

  in Europe. The companies have no employees in the United States. See Ex. 1 ¶ 8; Ex. 2 ¶ 11. The

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  Moving Defendants would be unduly burdened by time and expense if forced to litigate this case

  in a forum of which they have not purposefully availed themselves.

          Second, while this State may have a general interest in dissuading patent infringement

  within its borders, it has no interest in parties, such as the Moving Defendants, who do not operate

  or sell any products within its borders or in the United States. Hanshow has alleged no particular

  sales within the State or any significant presence in the State whatsoever. Hanshow itself is from

  China with no obvious connection to the State.

          As such, this case is very different from one in which a Texas resident is seeking to obtain

  a judgment from another Texas resident, or even a resident of another U.S. state. Instead, this case

  is in Texas due solely to Hanshow’s venue manipulation. The tenants of fair play and substantial

  justice exist precisely to create a stop gap when, at the very least, neither party have any connection

  to the State. In any event, to the extent the State has any interest in this case, its interest is protected

  because this case will, at the very least, be litigated as to VusionGroup SA.

          Third, and similarly, the Plaintiffs’ interests in securing relief will not be negatively

  impacted by dismissing the Moving Defendants. This case will nevertheless proceed and will

  simply not include parties with no connection to the State. Moreover, Plaintiffs are not domiciled

  in Texas—they are Chinese companies, and they have not alleged that they have any interest in

  Texas besides their desire to file a lawsuit here.

          Fourth, dismissing the Moving Defendants would have no impact on the “efficient

  administration of justice”. Hanshow and Defendants have been engaged in litigation for several

  years in other forums. See, e.g., SES-Imagotag SA, et al. v. Hanshow America, Inc. and Hanshow

  Technology Co. Ltd., Case No. 1:23-cv-01667-BMC (E.D.N.Y.). Hanshow knows full well by now

  who it should have named in this suit, but conveniently omitted the parties that would have


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  deprived the Court of venue. have simply sued wrong parties. Because the Moving Defendants to

  not have employees, sales, products, or marketing in the United States this is not a case of

  competing forums, but rather, the improper exercise of jurisdiction over a foreign entities operating

  outside of the United States. So, this litigation would claim this Court’s time for matters that

  involve parties, activities, and events that do not affect this State.

          Fifth, the only social policy at issue here is to enforce the patent laws of the United States,

  which will be served by the existence of this lawsuit, litigating over the same Accused Products,

  following dismissal of the Moving Defendants. Neither the social interests of the United States,

  Texas, or indeed, Plaintiffs are offended by the dismissal of the Moving Defendants.

          Therefore, litigating in this State would offend traditional notions of fair play and

  substantial justice. The Moving Defendants should be dismissed.

      D. Personal Jurisdiction Cannot Be Established Under Fed. R. Civ. P. 4(k)(2).

          Federal Rule of Civil Procedure 4(k)(2) allows for the exercise of personal jurisdiction in

  Federal question claims where a defendant is not subject to jurisdiction in any state’s courts, and

  exercising jurisdiction is consistent with the United States Constitution and laws. The Federal

  Circuit describes Rule 4(k)(2) as closing,

          a loophole that existed prior to the 1993 amendments of the Federal Rules of Civil
          Procedure. Before the adoption of Rule 4(k)(2), a non-resident defendant who did
          not have “minimum contacts” with any individual state sufficient to support [the]
          exercise of jurisdiction, but did have sufficient contacts with the United States as a
          whole, could escape jurisdiction in all fifty states.

  Touchcom, Inc. v. Bereskin & Parr, 574 F.3d 1403, 1414 (Fed. Cir. 2009

          Thus, for Federal question cases in which a defendant does not identify a particular

  jurisdiction that is appropriate for personal jurisdiction, see id., at 1415, the court analyzes, not

  only the defendant’s contacts with the forum state, but with the United States in general. As the


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  Federal Circuit put it, “Rule 4(k)(2) ‘contemplates a defendant’s contacts with the entire United

  States, as opposed to the state in which the district court sits.’ Thus, while the test of specific

  jurisdiction under 4(k)(2) involves the same steps … , we must consider appellees ‘contacts with

  the nation as a whole.’” Id. at 1416 (quoting Synthes (U.S.A.) v. G.M. Dos Reis Jr. Ind. Com. de

  Equip. Medico, 563 F.3d 1285, 1297, 1296 (Fed.Cir.2009)).

           In this case, the analysis is the same as above because neither defendant has any contacts

  with the United States such that the exercise of jurisdiction over the defendants is consistent with

  Due Process. This is not a circumstance where the defendants have contacts with the United States

  but not a particular state. Instead, neither of the Moving Defendants are incorporated or have

  principal places of business in the United States, Ex. 1 ¶¶ 4, 8; Ex. 2 ¶¶ 5, 12, the Moving

  Defendants do not direct any activity towards the United States, Ex. 1 ¶ 7; Ex. 2 ¶ 12, Plaintiffs’

  claims do not arise out of any supposed contacts by the Moving Defendants with the United States,

  and personal jurisdiction under Rule 4(k)(2) would offend traditional notions of fair play and

  substantial justice. 4(k)(2), thus, cannot and does not apply.

      E. VusionGroup GmbH’s Appearance In Prior Litigation Does Not Waive
         Its Challenge to Personal Jurisdiction In This Case 3

           It does not matter that VusionGroup GmbH did not challenge personal jurisdiction in

  Hanshow Technology Co., Ltd. v. SES-Imagotag SA and SES-Imagotag GmbH Case No. 2:23-cv-

  00174 (E.D. Tex.) (“Hanshow I”). This is so because courts have consistently held that a party’s

  prior appearance does “not necessarily waive the personal jurisdiction requirement in future




  3
   The Moving Defendants have also not waived their challenge to personal jurisdiction by filing joint or unopposed
  case management motions in this case as required by the Court’s orders. See Stubblefield v. Suzuki Motor Corp., 826
  F. App'x 309, 315 (5th Cir. 2020) (no waiver of jurisdictional challenge when case was pending for over two years
  and, prior to filing an initial Rule 12 Motion, Defendant had participated in discovery, filed jury demand, negotiated
  a joint protective order, moved to extended discovery deadlines, and a scheduling order was modified with a new trial
  date).
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  actions, nor constitute related business conduct within the jurisdiction.” Wapp Tech., 406 F. Supp.

  at 594 (quoting Rozenblat v. Sandia Corp., No. 05-1556, 2006 WL 678923, at *3 (Fed. Cir. Mar.

  17, 2006)) (holding that a defendant did not waive its personal jurisdiction challenge even though

  it appeared in another, unrelated case in the same district); see also Rozenblat, 2006 WL 678923,

  at * 3 (holding that defendant did not waive personal jurisdiction even though it generally appeared

  in a previous case filed by the same plaintiff). Thus, as a general matter, VusionGourp GmbH’s

  appearance in Hanshow I does not waive challenges to personal jurisdiction in later cases.

         Furthermore, although Hanshow I and this case involve related parties (Hanshow

  Technology Co., Ltd. and VusionGroup SA) and have some overlap in accused products, the cases

  are nevertheless significantly different. First, neither Plaintiff Shanghai Hanshi, nor Defendant

  Captana GmbH, are parties to Hanshow I. Hanshow I also involves entirely different patents in

  different technology fields than in this case. See Hanshow I Amended Complaint, 2:23-cv-00174

  at Dkt. 25 (alleging infringement of U.S. Patent Nos. 11,540,216; 8,346,210; and 9,641,994).

         Hanshow I involves patents and infringement allegations relating to “electronic or bearer

  tags”. Id at ¶¶ 25 (“’216 patent relates to an interactive electronic tag device communication system

  and method”); 114 (“’210 patent relates to an approach for managing one or more services

  corresponding to a bearer tag . . .”); 183 (“’994 patent relates to an approach for managing one or

  more services corresponding to a bearer tag”). In contrast, this case involves U.S. Patent Nos.

  11,087,272 directed to “[s]ystem[s] and method[s] for location, identifying and counting items”,

  and 10,701,321 direct to “[s]ystem and method for distributed video analysis.” See Complaint,

  Dkt. No. 1 at ¶¶ 17, 20. Plaintiffs’ allegations in this case are directed to “infringing Captana

  devices, systems, and/or functionality”. Id. at ¶¶ 9, 14, 15, 24, 26, 32, 34; see also Dkt No. 1-8

  (preliminary infringement charts accusing “Captana solution”). Captana™ products are not


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  accused in Hanshow I. See generally, Hanshow I Amended Complaint, 2:23-cv-00174 at Dkt. 25.

         Accordingly, there is no reason why VusionGroup GmbH’s appearance in Hanshow I is

  should either be a waiver of a personal jurisdiction challenge in this case, nor considered related

  business conduct with respect to the jurisdictional analysis.

                                         V. CONCLUSION

      For all the foregoing reasons, the Moving Defendants respectfully pray that the Court dismiss

  this case specifically as to VusionGroup GmbH and Captana GmbH pursuant to FED. R. CIV. P.

  12(b)(2) and grant the Moving Defendants such further relief to which it may be entitled.




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      Dated: April 25, 2024            Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

          The undersigned counsel for Defendants does hereby certify that this pleading was served
  on all counsel of record on April 25, 2024 by the Court’s ECF system.

                                              /s/ Matthew C. Acosta
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